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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION


 SPEECH TRANSCRIPTION, LLC,          §
                                     §
               Plaintiff             §
                                     §
       v.                            §     CIV. ACTION NO. 2:23-cv-00605-JRG-RSP
                                     §
 EXABEAM, INC.,                      §
                                     §
               Defendant.
                                     §
                                     §

    DEFENDANT EXABEAM, INC.’S MOTION TO DISMISS PLAINTIFF SPEECH
      TRANSCRIPTION, LLC’S FIRST AMENDED COMPLAINT FOR PATENT
  INFRINGEMENT PURSUANT TO 35 U.S.C. § 101 AND MEMORANDUM OF LAW IN
                               SUPPORT
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        Defendant Exabeam, Inc. (“Exabeam”) respectfully requests that the Court dismiss the

 entirety of the First Amended Complaint for Patent Infringement (“Complaint” or “FAC”) filed

 by plaintiff Speech Transcription, LLC (“Plaintiff”), for failure to state a claim upon which relief

 can be granted. The asserted claim of U.S. Patent No. 8,939,799 (the “’799 patent”) is directed to

 an abstract idea with no inventive concept, and thus is invalid as a matter of law under 35 U.S.C.

 § 101 (“Section 101”).

                                          INTRODUCTION

        The complaint alleges infringement of the ’799 patent. The ’799 patent is directed to a

 security management system that receives and executes security software from multiple vendors.

 See e.g., ’799 patent at Abstract. The asserted claim of the ’799 patent, claim 14, concerns nothing

 more than a highly abstract concept:

                A security subsystem configurable between a network and a host of an endpoint,

                the security subsystem comprising computing resource for providing:

                        An open platform for receiving and executing security function software

                        modules from multiple vendors for providing defense functions for

                        protection of the host.

        This claim lacks any specific components or structure that would elevate its abstract

 concept to a level eligible for patent protection. It is characterized by a broad generality, described

 in functional language, and relies on unspecified, generic computing elements. Based on the

 Supreme Court’s Alice criteria for determining patent eligibility, it is evident that the asserted claim

 of the ’799 patent does not meet the necessary standards and is, therefore, unequivocally invalid.

                                           BACKGROUND

        On December 15, 2023, Plaintiff filed its initial complaint in this action alleging that




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 Exabeam infringes claim 14 of the ’799 Patent. On April 1, 2024, Defendant moved to dismiss

 the asserted claim. Dkt. No. 6. In response, on April 12, 2024, Plaintiff filed its First Amended

 Complaint (Dkt. No. 7), which merely added conclusory allegations to four paragraphs of the

 initial complaint. See FAC ¶¶ 20, 21, 23, 26. Consequently, no substantive alterations were made.

           Plaintiff is a non-practicing entity that has filed numerous lawsuits, each alleging

 infringement of claim 14 of the ’799 patent. According to Pacer,1 these cases are typically resolved

 within a few months of filing, strongly suggesting Plaintiff is just seeking cost-of-defense based

 settlements:




           Plaintiff employs a largely uniform approach in drafting these complaints against the

 various defendants. Indeed, Plaintiff’s complaint in this case mistakenly refers to the Western

 District of Texas instead of the Eastern District, suggesting a template-based approach to these

 complaints. See FAC ¶ 9 (“Venue is proper in the Western District of Texas as to Defendant

 pursuant to at least 28 U.S.C. §§ 1391(c)(2) and 1400(b).”).



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     Plaintiff’s litigation history is publicly documented and thus, subject to judicial notice.


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         A.      The ’799 Patent.

         The ’799 patent relates generally to the protection and management of endpoint computing

 systems. It describes a unified approach to security, facilitating the enhancement of security

 measures, the management of security protocols, and the streamlined provision and acquisition of

 security services.

         B.      Claim 14.

         In the complaint, Plaintiff expressly identifies only one asserted claim allegedly infringed

 by Exabeam, claim 14 of the ’799 patent. See FAC ¶¶ 31, 32, 36. Claim 14 is additionally the

 sole claim charted in Plaintiff’s complaint. See FAC Ex. B.

         Claim 14 of the ’799 patent recites:

         A security subsystem configurable between a network and a host of an endpoint, the

         security subsystem comprising computing resource for providing:

                 An open platform for receiving and executing security function software modules

                 from multiple vendors for providing defense functions for protection of the host.

                                        LEGAL STANDARD

         A.      Failure to State a Claim.

         A complaint cannot survive a motion to dismiss unless it “contain[s] sufficient factual

 matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal,

 556 U.S. 662, 667 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A

 claim has facial plausibility when the plaintiff pleads factual content that allows the court to draw

 the reasonable inference that the defendant is liable for the misconduct alleged.” Id. While the

 Court must accept factual allegations as true, it is not required to accept as true allegations that

 amount to legal conclusions, conclusory statements, “a formulaic recitation of the elements of a




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 cause of action,” or “‘naked assertion[s]’ devoid of ‘further factual enhancement.’” Id. at 678

 (quoting Twombly, 550 U.S. at 557).

        B.      Patent-Eligible Subject Matter Under § 101.

        The Court may determine patent eligibility under § 101 on a Rule 12(b)(6) motion to

 dismiss. See Elec. Commc’n Techs., LLC v. ShoppersChoice.com, LLC, 958 F.3d 1178, 1184

 (Fed. Cir. 2020) (“[W]e have repeatedly affirmed § 101 rejections at the motion to dismiss stage,

 before claim construction or significant discovery has commenced . . . .”) (citation omitted); See

 also Loyalty Conversion Sys. Corp. v. Am. Airlines, Inc., 66 F. Supp. 3d 829, 847 (E.D. Tex. 2014);

 Network Architecture Innovations LLC v. CC Network Inc., 2017 WL 1398276, at *7 (E.D. Tex.

 Apr. 18, 2017).

        35 U.S.C. § 101 outlines the categories of inventions that are eligible for patent protection

 under United States law. It states: “Whoever invents or discovers any new and useful process,

 machine, manufacture, or composition of matter, or any new and useful improvement thereof, may

 obtain a patent therefor, subject to the conditions and requirements of this title.” There is, however,

 “an important implicit exception: Laws of nature, natural phenomena, and abstract ideas are not

 patentable.” Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 573 U.S. 208, 216 (2014) (citation omitted).

 In Alice, the Supreme Court established a two-step framework to determine whether a claim is

 directed to such ineligible subject matter.

        Alice step one: The first step is to “determine whether the claims at issue are directed to

 one of those patent-ineligible concepts”—e.g., an abstract idea. Id. at 217. “Alice step one

 presents a legal question that can be answered based on the intrinsic evidence” and “does not

 require an evaluation of the prior art or facts outside of the intrinsic record.” CardioNet, LLC v.

 InfoBionic, Inc., 955 F.3d 1358, 1372 (Fed. Cir. 2020). “Under this inquiry, [courts] evaluate the




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 focus of the claimed advance over the prior art to determine if the character of the claim as a whole,

 considered in light of the specification, is directed to excluded subject matter.” Trading Techs.

 Int’l, Inc. v. IBG LLC, 921 F.3d 1378, 1384 (Fed. Cir. 2019) (quotation omitted). Where a claim

 recites “a desired function or outcome, without providing any limiting detail that confines the claim

 to a particular solution to an identified problem,” the “functional nature of the claim confirms that

 it is directed to an abstract idea.” Affinity Labs of Tex., LLC v. Amazon.com, Inc., 838 F.3d 1266,

 1269 (Fed. Cir. 2016).

        Alice step two: If a claim is directed to ineligible subject matter, the second step is to

 “consider the elements of each claim both individually and as an ordered combination to determine

 whether [any] additional elements transform the nature of the claim into a patent eligible

 application.” Alice, 573 U.S. at 217 (quotation omitted). This step is a search for an “inventive

 concept—i.e., an element or combination of elements that is sufficient to ensure that the patent in

 practice amounts to significantly more than a patent upon the ineligible concept itself.” Id. at 217–

 18 (quotations omitted). For a computer-implemented invention to satisfy step two, “it must

 involve more than performance of ‘well-understood, routine, [and] conventional activities

 previously known to the industry.’” Content Extraction & Transmission LLC v. Wells Fargo Bank,

 Nat’l Ass’n, 776 F.3d 1343, 1347‒48 (Fed. Cir. 2014) (quoting Alice, 573 U.S. at 225). Claims

 that “merely require generic computer implementation, fail to transform [an] abstract idea into a

 patent-eligible invention. Alice, 573 U.S. at 221.

                                            ARGUMENT

        The sole claim charted in this Complaint, claim 14, fails both steps of the two-part Alice




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 test2.

          A.     Alice Step One.

          Claim 14 claims the abstract idea of a middleman platform for accepting and running

 security software modules from various vendors. This is clear given that claim 14 is framed in

 broad, functional terms, claiming nothing more than an “open platform” for “receiving and

 executing security function software modules.”

          When evaluating claims expressed in functional language, courts examine “whether the

 claims in the patent focus on a specific means or method, or are instead directed to a result or effect

 that itself is the abstract idea and merely invokes generic processes and machinery.” Two-Way

 Media Ltd. v. Comcast Cable Commc’ns, LLC, 874 F.3d 1329, 1337 (Fed. Cir. 2017).

 Furthermore, claims "directed to generalized steps to be performed on a computer using

 conventional computer activity are not patent eligible." Id.

          Here, claim 14 concerns a generic “security subsystem configurable between a network

 and a host of an endpoint” written in functional terms to perform a series of steps. ‘799 Patent at

 19:47-52. Claim 14, however, does not specify how the steps, or functions, are to be carried out.

 See Affinity Labs of Tex., LLC v. DIRECTV, LLC, 838 F.3d 1253, 1258 (Fed. Cir. 2016) (claim

 was ruled ineligible due its abstract nature because “[t]here is nothing in [the] claim that is directed

 to how to implement out-of-region broadcasting on a cellular telephone”); Internet Pats. Corp. v.

 Active Network, Inc., 790 F.3d 1343, 1348 (Fed. Cir. 2015) (determining the claim as abstract

 because it “contains no restriction on how the result is accomplished”). The use of this type of




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   Any argument by Plaintiff in its opposition regarding other claims of the ’799 patent should be
 rejected because the Complaint – like Plaintiff’s other complaints – discusses only claim 14.
 Plaintiff’s Complaint fails under Iqbal and Twombly if Plaintiff is alleging infringement of any
 other claims of the ’799 patent.


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 “result-focused, functional character of claim language . . . has been a frequent feature of claims

 held ineligible under § 101.” Elec. Power Grp., LLC v. Alstom S.A., 830 F.3d 1350, 1356 (Fed.

 Cir. 2016); see also cxLoyalty Inc. v. Maritz Holdings Inc., 986 F.3d 1367, 1380 (Fed. Cir. 2021)

 (ruling patent-ineligible a claim for a “platform” which “provides the ability for a participant to

 use a single loyalty program GUI to make points-based purchases directly from multiple third-

 party vendor systems via multiple APIs.”).

        The security subsystem outlined in Claim 14 essentially involves merely gathering security

 tools from various sources and integrating them into a single "open platform," a process that is

 intrinsically abstract. Courts have held that merging features from various vendors does not alter

 the abstract essence of the claim. FairWarning IP, LLC v. Iatric Sys., Inc., 839 F.3d 1089, 1096–

 97 (Fed. Cir. 2016) (“The mere combination of []sources, however, does not make the claims

 patent eligible.”); see also cxLoyalty, Inc. 986 F.3d 1367 at 1380-81.

        The abstract idea articulated in claim 14 is analogous to a server rack designed to

 accommodate a diverse array of servers, each with the potential to perform a wide range of

 functions. The rack may be outfitted with capabilities for power supply, cooling, and connectivity.

 The servers can be from any number of vendors and perform any number of functions. While the

 servers themselves may be capable of performing non-abstract functions, either separately or in

 combination, the rack that holds and connects them is nothing more than an abstract concept. See

 also e-Numerate Sols., Inc. v. United States, 149 Fed. Cl. 563, 584 (2020) (“The mere combination

 of data sources, however, does not make the claims patent eligible”); NexusCard, Inc. v. Kroger

 Co., 173 F. Supp. 3d 462, 467 (E.D. Tex. 2016), aff'd, 688 F. App'x 916 (Fed. Cir. 2017)

 (“[D]escribing two abstract ideas in connection with each other…does not cause either abstract

 idea to then become a concrete thing.”); see also Credit Acceptance Corp. v. Westlake Servs., 859




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 F.3d 1044, 1055–56 (Fed. Cir. 2017) (holding that claims directed to “configuring a computer

 system to combine data from multiple electronic data sources” are inherently abstract).

        Additionally, claim 14 closely resembles those found to be ineligible in Universal Secure

 Registry LLC v. Apple Inc., 10 F.4th 1342, 1353 (Fed. Cir. 2021), cert. denied, 212 L. Ed. 2d 778,

 142 S. Ct. 2707 (2022). There, the Federal Circuit examined the patent eligibility of a claim

 concerning an electronic device designed for conducting secure financial transactions, which

 verifies the user through two forms of identification—namely, biometric data and secret

 information supplied by the user. Id. at 1351-52. The Federal Circuit determined that the patent

 claims in question were aimed at the abstract idea of authenticating a user with standard tools while

 creating and sending that authentication, which merely amalgamated several pre-existing tools into

 one device without enhancing the technology itself. Id. at 1352.

        Lastly, Plaintiff’s conclusory allegations that claims of the ’799 Patent “comprise

 nonconventional approaches that transform the inventions as claimed into substantially more than

 mere abstract ideas” and “are not drawn . . . to abstract ideas” fail to save claim 14. See FAC ¶¶

 19-20. Conclusory allegations hold no merit in Section 101 analysis at the Rule 12 stage. Simio,

 LLC v. FlexSim Software Prods., Inc., 983 F.3d 1353, 1365 (Fed. Cir. 2020).

        B.      Alice Step Two

        Despite Plaintiff’s allegations in its complaint, claim 14 of the ’799 patent also fails at Alice

 step two because no inventive concept can be identified in the claim. Claim 14’s recited elements

 are well-known, routine, and conventional, and fail to transform the abstract idea into a patent-

 eligible invention.

        “Security subsystem,” “network,” “host,” “endpoint,” and “computing resources” are all

 generic and conventional computer components recited in claim 14. Similarly, claim 14 only




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 recites functionality for executing the abstract idea of amalgamating widely recognized and

 unoriginal tools provided by others. See SAP Am., Inc. v. InvestPic, LLC, 898 F.3d 1161, 1170

 (Fed. Cir. 2018) (determining claim ineligible under Alice Step Two because “[t]here is, in short,

 nothing ‘inventive’ about any claim details individually or in combination, that are not themselves

 in the realm of abstract ideas.”); see e.g., Free Stream Media Corp. v. Alphonso Inc., 996 F.3d

 1355, 1366 (Fed. Cir. 2021) (holding “the claimed elements … comprise generic computing

 components—e.g., ‘servers’—arranged in a conventional manner and thus do[] not transform the

 claim into something other than the abstract idea”). Significantly, claim 14 does not specify any

 computer or software that represents an improvement upon existing technology. Parus Holdings

 Inc. v. Sallie Mae Bank, 137 F. Supp. 3d 660, 674 (D. Del. 2015), aff’d, 677 F. App’x 682 (Fed.

 Cir. 2017) (finding the claims in question were devoid of an inventive concept because of their

 lack of specificity and did not “reference any customization” of the hardware and software

 described in the claims).

        Additionally, claim 14 does not recite any unique security methods. Rather, it claims a

 security subsystem that provides for an “open platform” to aggregate already known defense

 software modules—i.e., a server rack. Claim 14 concerns nothing more than the “combination of

 [] long-standing conventional methods” for security which would “yield[] expected results of an

 additive increase in security” from each individual vendor’s module. Universal Secure Registry,

 10 F.4th at 1353. “There is nothing in the specification suggesting, or any other factual basis for

 a plausible inference (as needed to avoid dismissal), that the claimed combination of these

 conventional [] techniques achieves more than the expected sum of the security provided by each

 technique.” Id. Nothing within claim 14 offers a basis for its salvage at Alice step two.




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                                          CONCLUSION

        For the foregoing reasons, Exabeam respectfully requests that this Court find claim 14 of

 the ’799 patent to be invalid under Section 101 and dismiss Speech Transcription, LLC’s

 Complaint with prejudice for failure to state a claim.



  Dated: April 26, 2024                               Respectfully submitted,

                                                      By: /s/ Eric H. Findlay
                                                      Eric H. Findlay
                                                      State Bar No. 00789886
                                                      Brian Craft
                                                      State Bar No. 04972020
                                                      FINDLAY CRAFT, P.C.
                                                      7270 Crosswater Avenue, Ste. B
                                                      Tyler, TX 75703
                                                      Tel: (903) 534-1100
                                                      Fax: (903) 534-1137
                                                      Email: efindlay@findlaycraft.com
                                                      Email: bcraft@findlaycraft.com

                                                      Brett Schuman
                                                      BSchuman@goodwinlaw.com
                                                      GOODWIN PROCTER LLP
                                                      Three Embarcadero Center, Suite 2800
                                                      San Francisco, CA 94111
                                                      Tel.: +1 415 733 6000
                                                      Fax: +1 415 677 9041

                                                      Fred Feyzi
                                                      FFeyzi@goodwinlaw.com
                                                      GOODWIN PROCTER LLP
                                                      601 Marshall Street
                                                      Redwood City, CA 94063
                                                      Tel.: +1 650 752 3100
                                                      Fax: +1 650 853 1038


                                                      Attorneys for Defendant Exabeam, Inc.




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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that counsel of record who are deemed to have consented

 to electronic services are being served with a copy of this document via the Court’s CM/ECF

 system per Local Rule CV-5(a)(3) on this the 26th day of April, 2024.



                                                         /s/ Eric H. Findlay
                                                         Eric H. Findlay



   CERTIFICATE OF COMPLIANCE WITH THE COURT’S 35 U.S.C. § 101 MOTION
                          PRACTICE ORDER


 ______ The parties agree that prior claim construction is not needed to inform the Court’s analysis
        as to patentability.

 __X__ The parties disagree that prior claim construction is not needed to inform the Court’s
       analysis as to patentability.


                                                         /s/ Brett Schuman
                                                         Brett Schuman




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